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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

In Re:      Oil Spill by the Oil Rig           ]                       MDL No. 2179
            “Deepwater Horizon” in the         ]
            Gulf of Mexico, on April 20, 2010  ]                       SECTION: J
                                               ]
                                               ]                       Judge Barbier
This Document Relates to: 2:12-cv-1045-CJB-JCW ]                       Mag. Judge Wilkinson
                                               ]

            PLAINTIFF’S MEMORANDUM IN SUPPORT FOR CONDITIONAL
                CERTIFICATION AND COURT-AUTHORIZED NOTICE

                                        I. INTRODUCTION

         The BP oil spill in 2010 was the largest accidental marine oil spill in the history of the

petroleum industry. With thousands of square miles of ocean and hundreds of miles of shoreline

contaminated or at risk, BP enlisted the largest spill management company in the U.S., O’Brien’s

Response Management, Inc. (“O’Brien’s”). O’Brien’s mobilized thousands of workers who

cleaned and defended Gulf shorelines and waters. Of these thousands, O’Brien’s hired several

hundred employees directly to monitor, manage and track personnel, equipment and supplies

involved in the spill response. These employees include Plaintiff Prejean and twenty-six other

workers who filed consents to join this collective action under the Fair Labor Standards Act

(FLSA). Prejean and these opt-in Plaintiffs (collectively, the “Spill Workers”) typically worked

twelve-hour shifts, seven days per week, and were paid a flat amount per day worked. Although

they worked many hours in excess of forty per week, O’Brien’s did not pay the Spill Workers

overtime because O’Brien’s labeled them as independent contractors, rather than employees.

Prejean filed this action on his own behalf and others similarly situated to challenge O’Brien’s

illegal classification of the Spill Workers as independent contractors and recover unpaid

overtime pay due under the FLSA. By this memorandum, Prejean asks the Court to




                                                                                                Ex. 1
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conditionally certify this collective action and grant permission to notify similarly situated

employees of this case so that they may decide for themselves whether to join the Spill Workers’

attempt to recover their unpaid overtime wages.

        The Spill Workers far exceed the “the lenient standard set for certifying collective

actions.” See, Xavier v. Belfor USA Group, Inc., 585 F. Supp. 2d 873, 875 (E.D. La. 2008); see

also McKnight v. D. Houston, Inc., CIV.A. H-09-3345, 2010 WL 4806869, at *8 (S.D. Tex. Nov.

18, 2010) (noting the plaintiff’s “light burden” at this stage). Through the declarations of twenty

Spill Workers who worked in several locations in four states, O’Brien’s own documents, and the

well-pled allegations in Prejean’s Original Complaint (Docket Entry No. 1), the Spill Workers

demonstrate that: (1) O’Brien’s denied them overtime under the same misclassification and

compensation policy; and (2) other “similarly situated” Spill Workers desire to join this case and

will benefit from a Court-authorized notice pursuant to 29 U.S.C. § 216(b).

                                           II. THE PARTIES

        A.      O’Brien’s

        In the aftermath of BP’s Deepwater Horizon oil spill (the “Horizon Spill”) in April 2010,

BP outsourced the massive cleanup efforts to various sub-contractors. One of these sub-

contractors was O’Brien’s. O’Brien’s bills itself as “the recognized leader in emergency

response management, particularly in oil spills,” and claims it “responds to over 1000 events

each year.”1

        B.      Prejean.

        Named Plaintiff Dennis Prejean is a former Spill Worker who worked for O’Brien’s in

Venice, Louisiana. Ex. 5, ¶ 2. To date, an additional twenty-six Spill Workers who worked in


1
 See http://www.piersystem.com/go/doc/2783/578267/O-Brien-s-Statement-Regarding-Role-in-Gulf-Spill (Jul. 16,
2012).

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several locations in Louisiana, Mississippi, Alabama and Florida, have filed consents to join this

case. See Exs. 5-19, ¶¶ 2-3; Docket Entry Nos. 4, 6593, 6658, 6675.

                                        III. THE FACTS

       A.      O’Brien’s Classified Every Spill Worker as an Independent Contractor.

       O’Brien’s classified all Spill Workers as independent contractors, rather than employees.

Exs. 5-18, ¶ 6, Exs. 19-21, ¶ 4, Exs. 22-23, ¶3, Ex. 24, ¶ 5. Every Spill Worker signed an

identical “Teaming Agreement” that refers to each Spill Worker as a “Contractor.” Exs. 5-13,

15, 17-18, ¶ 12; Ex. 19, ¶ 10, Ex. 23, ¶ 9. Several examples of the Teaming Agreement are

attached to the Spill Workers’ Declarations. Id. O’Brien’s admits it classified the Spill Workers

as independent contractors prior to January 1, 2011, the date it reclassified them as employees.

Docket Entry No. 6663, O’Brien’s Answer, at p. 2, ¶ 4 & p. 5, Second Affirmative Defense.

       B.      The Spill Workers Share a Common Employment Experience.

       In addition to working under the same “independent contractor” label, the Spill Workers

share a common employment experience with O’Brien’s. Their common experience covers all

aspects of the relationship including hiring, job requirements, job duties, hours worked, pay,

level of control or supervision by O’Brien’s, level of investment in the cleanup operations and

“demobilization,” the process by which the Spill Workers were laid off.

               1.     The Spill Workers Were Hired in a Similar Way by O’Brien’s.

       Each Spill Worker was hired during a short phone conversation with an O’Brien’s

representative. Exs. 5-18, ¶¶ 15-16; Exs. 19-21, ¶ 13; Exs. 22-23, ¶ 12; Ex. 24, ¶ 14. In the call,

O’Brien’s directed the Spill Workers to report for duty within a few days. Id. This call was

usually the Spill Workers’ first contact with the company upon submitting their resume after




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receiving a tip from a friend or family member. Exs. 5-15, 16-17, ¶ 30; Ex. 19, ¶ 26; Ex. 24, ¶

14.

                2.      O’Brien’s Did Not Require Specialized Skills, Training or Experience.

         O’Brien’s did not require the Spill Workers possess any specialized skills, experience or

training prior to hire. Exs. 5-18, ¶ 30; Exs. 19, ¶¶ 26-27. The Spill Workers did not receive

significant official or formal training after they were hired, either. Exs. 5-18, ¶ 31; Exs. 19, 21-

24, ¶ 27; Ex. 20, ¶ 26. Instead, the Spill Workers learned to perform their duties on the job. Id.

                3.      The Spill Workers Performed Similar Jobs.

         The Horizon Spill required the mobilization of thousands of workers and all the

equipment they used. O’Brien’s assigned the Spill Workers to monitor, manage or track the

personnel and equipment involved in the cleanup operations and to report on the status of

cleanup efforts. Exs. 5-18, ¶¶ 2-5; Exs. 19-21, 23-24, ¶¶ 2-4; Ex. 22, ¶¶ 2, 15.

                4.      The Spill Workers Worked Many Hours in Excess of Forty Each Week.

         The Spill Workers typically worked seven days per week, often going weeks or months

without a day off. Exs. 5-18, ¶¶ 9-11; Exs. 19-21, ¶¶ 7-9; Exs. 22-23, ¶¶ 6-8; Ex. 24, ¶ 8-10.

O’Brien’s, not the Spill Workers, set the Spill Workers’ schedules. Exs. 5-18, ¶ 24; Exs. 19-24,

¶¶ 21-22. The Spill Workers were typically scheduled for twelve-hour shifts. Exs. 5-18, ¶¶ 9-

11; Exs. 19-21, ¶¶ 7-9; Exs. 22-23, ¶¶ 6-8; Ex. 24, ¶¶ 8-10. However, due to the demands of

their work, the Spill Workers usually worked more than their scheduled hours. Id. O’Brien’s

required the Spill Workers fill out and submit time sheets. Exs. 5-18, ¶ 22; Exs. 19-24, ¶¶ 19-20.

Several examples of these time sheets, attached to the Spill Workers’ Declarations, demonstrate

that the Spill Workers worked many overtime hours each week. Exs. 5-18, ¶ 11; Ex. 19, ¶ 10;

Ex. 23; ¶ 8. Workweeks of eighty-four hours or more were typical. Id.



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               5.      O’Brien’s Paid the Spill Workers a Flat Day Rate with No Overtime
                       Pay.

       O’Brien’s Teaming Agreement set the Spill Workers’ compensation in terms of a day

rate that ranged from $350 to $600, with most Spill Workers set at $500. Exs. 5-18, ¶¶ 12-13;

Exs. 19-21, ¶¶ 10-11; Exs. 22-23, ¶¶ 6-8; Ex. 24, ¶¶ 8-10. O’Brien’s paid the Spill Workers their

daily rate as a flat amount per day worked, with no additional compensation if the Spill Workers

worked more than their scheduled hours. Id; see also O’Brien’s Answer, at p. 3, ¶ 11

(“O’Brien’s typically paid Plaintiff approximately $500 for each day he provided services prior

to January 1, 2011.”). Although the Spill Workers worked many overtime hours, O’Brien’s did

not pay them any additional pay for overtime hours until O’Brien’s reclassified its workforce to

employee status in January 2011. Exs. 5-18, ¶ 14; Exs. 19-21, ¶ 12, Exs. 22-23, ¶ 11; Ex. 24, ¶

13; see also O’Brien’s Answer, at p. 4, ¶¶ 17-19 & p. 5, Second Affirmative Defense.

               6.      O’Brien’s Directed and Supervised the Spill Workers.

       In addition to setting their compensation and schedules, O’Brien’s directed the

performance of the Spill Workers’ duties on a daily basis. Exs. 5-18, ¶ 8; Exs. 19-21, ¶ 6; Exs.

22-23, ¶ 5; Ex. 24, ¶ 7. The Spill Workers met or telephone-conferenced on a daily basis with

their supervisors to deliver their daily reports and receive their tasks and instructions. Exs. 5-18,

¶¶ 16-18; Exs. 19-24, ¶¶ 13-17. When there were problems the Spill Workers could not fix on

their own, they went to their supervisors for help. Id. When there were problems with their

work, the Spill Workers were required to make corrections according to their supervisor’s

instructions. Exs. 5-18, ¶ 19; Exs. 19-24, ¶¶ 16-17.

               7.      The Spill Workers Did Not Risk Their Own Investments in Capital.

       The Spill Workers were provided all the materials and equipment they used on the job,

including: office equipment, personal protective gear, two-way radios, computers, tools, ATVs

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and boats. Exs. 5-18, ¶ 29; Exs. 19-24, ¶¶ 25-26. O’Brien’s usually reimbursed the Spill

Workers for their travel expenses, including mileage and lodging and sometimes reimbursed

them for cell phone use. Id. The Spill Workers were also provided office facilities and lodging

if they were not working within driving distance of their homes. Id.

               8.     O’Brien’s Controlled the Conditions of the Spill Workers’ Employment.

       O’Brien’s had the authority to hire and fire the Spill Workers and exercised that

authority. Exs. 5-18, ¶ 15; Exs. 19-21, ¶ 13; Exs. 22-23, ¶ 12; Ex. 24, ¶ 15. O’Brien’s required

the Spill Workers obtain permission to take time off. Exs. 5-18, ¶ 21; Exs. 19-24, ¶¶ 18-19.

O’Brien’s controlled and monitored the Spill Workers’ entry to and departure from job sites

through the use of electronic badges. Exs. 5-18, ¶ 20; Exs. 19-24, ¶¶ 17-18.

       O’Brien’s required the Spill Workers follow policies and procedures that dictated who

they reported to in the chain of command, how they recorded and reported their time worked,

how they behaved on job sites, what they were permitted to wear, how they performed their

work, what expenses they were allowed to claim for reimbursement, how they handled

documents, and that they submit to random drug and alcohol testing. Exs. 5-18, ¶ 23, Exs. 19-

24, ¶¶ 20-21. O’Brien’s did not allow the Spill Workers to hire their own employees. Exs. 5-18,

¶ 25, Exs. 19-24, ¶¶ 22-23. O’Brien’s Teaming Agreements prohibited the Spill Workers from

working for other oil spill companies while employed by O’Brien’s and for one year afterwards.

Exs. 5-18, ¶ 26, Exs. 19-24, ¶¶ 23-24.

       O’Brien’s ordered the Spill Workers’ “demobilization.” Exs. 5-18, ¶¶ 27-28; Exs. 19-24,

¶¶ 24-25. When the Spill Workers were demobilized, their electronic access badges were

deactivated and O’Brien’s no longer permitted them to work. Id.




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                        IV. THE COURT SHOULD AUTHORIZE
                       NOTICE TO POTENTIAL CLASS MEMBERS

       A.      Court-Authorized Notice Is Fair, Efficient, and Advances Public Policy
               Goals.

       Early Court-authorized notice is essential to FLSA enforcement. The FLSA authorizes

private parties to sue and recover damages, 29 U.S.C. § 201, et seq., and to bring collective

actions “on behalf of themselves and other employees similarly situated,” 29 U.S.C. § 216(b). In

furtherance of the FLSA’s “broad remedial purpose,” courts have the authority to notify potential

opt-in plaintiffs of their chance to join an existing action early in the proceeding. Hoffmann-La

Roche v. Sperling, 493 U.S. 165, 169 (1989); Xavier v. Belfor USA Group, Inc., 585 F. Supp. 2d

873, 876 (E.D. La. 2008). Courts in the Fifth Circuit use a “lenient standard [that] typically

results in ‘conditional certification’ of a representative class.” Kuperman v. ICF Int'l, CIV.A. 08-

565, 2008 WL 4809167, at *5 (E.D. La. Nov. 3, 2008) (citing Mooney v. Aramco Srvcs. Co.,

54F.3d 1207, 1214 (5th Cir. 1995), overruled on other grounds, Desert Palace, Inc. v. Costa,

539 U.S. 90 (2003)).

       Collective actions provide workers an opportunity to “lower individual costs to vindicate

rights by pooling resources,” and enable the “efficient resolution in one proceeding of common

issues of law and fact . . . .” Hoffmann-La Roche, 493 U.S. at 170. The alternative, a multitude of

virtually identical individual suits, would burden courts unnecessarily and risk inconsistent

judgments on claims arising from the same events and brought under the same laws.

       B.      Expeditious Notice Is Particularly Vital to Preserving The Spill
               Workers’ Rights.

       Workers must receive timely notice because the FLSA’s intended benefits “depend on

employees receiving accurate and timely notice concerning the pendency of the collective

action.” Kaluom v. Stolt Offshore, Inc., 474 F. Supp. 2d 866, 870 (S.D. Tex. 2007). In a

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collective action, the action is “commenced” in the case of an opt-in plaintiff on the date a

written consent is filed. Lima v. Int'l Catastrophe Solutions, Inc., 493 F. Supp. 2d 793, 803 (E.D.

La. 2007) (citing 29 U.S.C. § 256(b); Atkins v. General Motors Corp., 701 F.2d 1124, 1130 n.5

(5th Cir. 1983)). Therefore, time is of the essence, because the Spill Workers ’ claims are

diminished or extinguished every day. Timely notice will curtail their continued erosion, and is

particularly important to the FLSA’s “broad remedial purpose.” West v. Lowes Homes Centers,

Inc., CIV. 6:09-1310, 2010 WL 5582941, at *9 (W.D. La. Dec. 16, 2010) report and

recommendation adopted by 2011 WL 126908 (W.D. La. Jan. 14, 2011).

       C.      The Spill Workers Significantly Exceed the Low Burden for Conditional
               Certification.

       In the Fifth Circuit, the “typical” method for administering collective actions is the “two-

step” approach. Sandoz v. Cingular Wireless LLC, 553 F.3d 913, 915 n.2 (5th Cir. 2008); Lang

v. DirecTV, Inc., 735 F. Supp. 2d 421, 434-435 (E.D. La. 2010). At the initial stage of the two-

step approach, “[a] plaintiff need only demonstrate a reasonable basis for the allegation that a

class of similarly situated persons may exist.” Kuperman, 2008 WL 4809167, at *6 (quoting

Lima v. Int'l Catastrophe Solutions, Inc., 493 F. Supp. 2d 793, 798) (E.D. La. 2007)). “The

‘similarly situated’ standard at this stage is lenient, plaintiff's burden is not heavy, the evidence

needed is minimal and the existence of some variations between potential claimants is not

determinative of lack of similarity.” Camp v. Progressive Corp., CIV.A. 01-2680, 2002 WL

31496661, at *4 (E.D. La. Nov. 8, 2002) (emphasis in original). To determine whether the

potential group of employees is “similarly situated,” the lenient standard requires only

substantial allegations that potential members “were together the victims of a single decision,

policy, or plan....” Xavier v. Belfor USA Group, Inc., 585 F. Supp. 2d 873, 877 (E.D. La. 2008)

(quoting Mooney, 54 F.3d at 1214, n.8).

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        Extensive discovery is not necessary at the initial stage.2 In lieu of discovery, courts rely

upon the allegations set forth in the complaint and in employee declarations. See Kuperman,

2008 WL 4809167, at *8 (E.D. La. Nov. 3, 2008) (“the decision to certify a collective action at

the preliminary notice stage is usually based only on the pleadings and any affidavits that make

substantial allegations that the putative class members were together the victims of a single

decision, policy, or plan.”) (internal citations omitted); see also Fernandes da Silva v. M2/Royal

Const. of Louisiana, LLC, CIV.A.08-4021, 2009 WL 3565949, at *3 (E.D. La. Oct. 29, 2009) (at

the initial “notice stage” of the two-step approach, the court’s determination is usually based

“only on the pleadings and any affidavits which have been submitted.”).3 Accordingly, the

factual showing required by plaintiff at this stage is a modest one: “[a]t the notice stage, ‘courts

appear to require nothing more than substantial allegations that the putative class members were

together the victims of a single decision, policy, or plan’” in violation of the law. Mooney, 54

F.3d at 1214, n.8 (quoting Hoffmann-La Roche, 118 F.R.D. at 407); see also Fernandes, 2009

WL 3565949, at *4. Here, the Spill Workers have provided more than enough support for

conditional certification in the form of the well-pled allegations in their Complaint, twenty

comprehensive declarations, and several documents from O’Brien’s attached to the Spill

Workers’ declarations.



2
  McKnight, 2010 WL 4806869, at *6 (“Ordinarily, at this stage, the parties have presented only affidavits and have
often conducted no discovery.”); Sandoz v. Cingular Wireless, LLC, CIV.A. 07-1308, 2010 WL 2232634, at *9,
n.13 (W.D. La. May 28, 2010) (“Because there is no class discovery in an FLSA representative action at the notice
stage . . . a more lenient standard is
applied.”).
3
  See, e.g., Smith v. Offshore Specialty Fabricators Inc., CIV.A. 09-2985, 2009 WL 2046159 (E.D. La. July 13,
2009) (authorizing notice on the basis of four affidavits which allege the same violation of the FLSA from the same
policy); Melson v. Directech Sw., Inc., CIV.A. 07-1087, 2008 WL 2598988 (E.D. La. June 25, 2008) (granting
conditional certification based on declarations from named plaintiffs and opt-in plaintiffs); Bernal v. Vankar
Enterprises, Inc., SA-07-CA-695-XR, 2008 WL 791963 (W.D. Tex. Mar. 24, 2008) (pleadings and affidavit from
one opt-in); Lima v. Int'l Catastrophe Solutions, Inc., 493 F. Supp. 2d 793, 798 (E.D. La. 2007) (pleadings,
affidavits from seven named plaintiffs and three opt-ins); Hayes v. Laroy Thomas, Inc., 5:05CV227, 2006 WL
1004991 (E.D. Tex. Apr. 18, 2006) (pleadings and declarations of four named plaintiffs).

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        D.      Conditional Certification Is Not A Decision on the Merits.

        Courts do not weigh the merits of the underlying claims in determining whether a

plaintiff is similarly situated to potential plaintiffs. See, e.g., McKnight, 2010 WL 4806869, at *8

(“At this early stage, in a motion for conditional certification, it is not appropriate to require the

plaintiff to produce evidence sufficient to survive summary judgment or to otherwise test the

merits beyond the light burden of production to show potential class members are similarly

situated.”); Ali v. Sugarland Petroleum, CIV.A. 4:09-CV-0170, 2009 WL 5173508, at *4 (S.D.

Tex. Dec. 22, 2009) (“The Court’s only task at the notice stage is to determine whether plaintiff

is similarly situated to potential class members.) Moreover, where, as here, plaintiff has

demonstrated that they were collectively the “victims” of a “single widespread decision, policy

or plan” -- the decision to classify them as independent contractors -- variations in job duties will

not defeat conditional certification. See, e.g., Smith v. Offshore Specialty Fabricators Inc., 2009

U.S. Dist. LEXIS 67386 (E.D. La. July 10, 2009) (certifying nationwide class on the basis of

evidence provided by six plaintiffs and noting that “collective action certification is not

precluded by the fact that putative plaintiffs performed various jobs in differing departments and

locations,” and that “the law is plain that that [fact] does not undermine the ‘similarly situated’

requirement.”) See also, Kuperman, 2008 WL 4809167, at *6 (citing Lima, 493 F. Supp. 2d at

798) (“[T]he threshold for a notice-stage § 216(b) certification is not absolutely identical job

tasks, but similarity of the plaintiff's overall employment situations”) (emphasis in original);

Donohue v. Francis Servs., Inc., CIV.A. 04-170, 2004 WL 1161366, at *2 (E.D. La. May 24,

2004) (“the law is plain that that [fact] does not undermine the ‘similarly situated’

requirement.”). At the second stage of certification, armed with full discovery, the district court

may reassess the certification decision. See, e.g., Williams v. Bally's La., Inc., CIV.A. 05-5020,



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2006 WL 1235904, at *2 (E.D. La. May 5, 2006) (quoting Donohue, 2004 WL 1161366, at *2

(E.D. La. May 24, 2004)).

       1.      The Spill Workers Are Similarly Situated With Respect to Their FLSA Claim.

       The Spill Workers exceed the “lenient standard” that they are similarly situated with

respect to their FLSA overtime claims. All the Spill Workers were classified as independent

contractors and received a day rate amount for twelve hours of work or more per day, worked

more than forty hours per week, and received no overtime pay. This policy applied to all the

Spill Workers in the same way. Nothing more is necessary. See Whitworth v. Chiles Offshore

Corp., CIV. A. 92-1504, 1992 WL 235907, at *1 (E.D. La. Sept. 2, 1992) (“A court may deny a

plaintiff’s right to proceed collectively only if the action arises from circumstances purely

personal to the plaintiff, and not from any generally applicable rule, policy, or practice”)

(emphasis added); Donohue, 2004 WL 1161366, at *1 (same); see also Albanil v. Coast 2 Coast,

Inc., 2008 U.S. Dist. LEXIS 93035 at *6 (S.D. Tex. Nov. 17, 2008) (Plaintiff’s pleadings and

declarations, stating that they did in fact work more than forty hours per week, [coupled with

Defendant’s admission that they did not pay overtime] are enough to provide the minimal factual

showing required at the notice stage.). Whether the policy is illegal is a question for another day.

See McKnight, 2010 WL 4806869, at *5 (“Neither stage of [conditional] certification is an

opportunity for the court to assess the merits of the claim by deciding factual disputes or making

credibility determinations.”) (citing Lynch v. United Svcs. Auto. Ass’n, 491 F.Supp.2d 357, 368

(S.D.N.Y. 2007) (“At this procedural stage, the court does not resolve factual disputes, decide

substantive issues going to the ultimate merits, or make credibility determinations.”)).




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         2.       The Spill Workers Are Similarly Situated With Respect to Their Independent
                  Contractor Classification.

         The O’Brien’s answer in this case, the Spill Workers’ testimony and the Teaming

Agreements all demonstrate O’Brien’s universal treatment of the Spill Workers as independent

contractors. Blanket classification decisions like this one are well suited for collective

adjudication and are routinely granted. See, e.g., Botello v. COI Telecom, L.L.C., No. SA-10-

CV-305-XR, 2010 WL 5464824 (W.D. Tex. Dec. 30, 2010) (certifying FLSA collective of

workers alleging misclassification as independent contractors); and Lima v. Int’l Catastrophe

Solutions, Inc., 493 F.Supp.2d 793, 798–99 (E.D. La. 2007) (conditionally certifying class of

manual laborers alleging they were not paid proper overtime wages due to a company-wide

policy of misclassifying them as independent contractors).4 This Court recently certified a

similar case involving TRG, another BP Contractor. See Brewer, et al., v. BP P.L.C., et al., No.

2:11-cv-401-JCW (E.D. La. filed Feb. 17, 2011). The standard defense argument – that no two

workers are alike and the Court must undertake an individualized, person-by-person analysis to

resolve the case – is undermined here by the fact that O’Brien’s classified all the Spill Workers

in one fell swoop, without examining each of their actual job duties. As a result, all the Spill
         4
           See also In re Penthouse Executive Club Comp. Litig., 10 CIV. 1145 NRB, 2010 WL 4340255, at *3-4
(S.D.N.Y. Oct. 27, 2010) (conditionally certifying class of current and former dancers who were misclassified as
independent contractors); McCaffrey v. Mortgage Sources, Corp., No. 08-2660-KHV, 2009 WL 2778085, at **4-5
(D. Kan. Aug. 27, 2009) (conditional certification granted to loan officers alleging misclassification as independent
contractors); Labrie v. UPS Supply Chain Solutions, Inc., No. C08-3182 PJH, 2009 WL 723599, at *5 (N.D. Cal.
Mar. 18, 2009) (conditional certification granted to U.P.S. drivers alleging misclassification as independent
contractors); Gayle v. Harry’s Nurses Registry, Inc., No. 07 Civ. 4672 (CPS)(MDG), 2009 WL 605790, at **9-10
(E.D.N.Y. Mar. 9, 2009) (conditionally certifying class of nurses challenging classification as independent
contractors); Houston v. U.R.S. Corp., 591 F.Supp.2d 827, 833-34 (E.D. Va. 2008) (conditional certification granted
to housing inspectors alleging misclassification as independent contractors); Quinteros v. Sparkle Cleaning, Inc.,
532 F.Supp.2d 762, 772 (D. Md. 2008) (conditionally certifying class of janitorial workers who were classified as
independent contractors and not paid overtime); Montoya v. S.C.C.P. Painting Contractors, Inc., Civ. No. CCB-07-
455, 2008 WL 554114 (D. Md. Feb. 26, 2008) (conditional certification for house painters alleging lack of overtime
pay due to misclassification); Lemus v. Burnham Painting & Drywall Corp., No. 2:06 Civ. 01158, 2007 WL
1875539, at **4-5 (D. Nev. June 25, 2007) (same); Westfall v. Kendle Intern., CPU, LLC, Civ. No. 1:05-cv-00118,
2007 WL 486606, at * 8-9 (N.D. W.Va. Feb. 15, 2007) (same); Lee v. ABC Carpet & Home, 236 F.R.D. 193, 198
(S.D.N.Y. 2006) (conditional certification of class of carpet installation mechanics challenging independent
contractor classification).


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Workers ’ claims are based on a “single decision, policy, or plan,” Xavier, 585 F.Supp.2d 873,

877 (E.D. La. 2008); Mooney, 54 F.3d at 1214 n. 8 (5th Cir. 1995) (quoting Sperling I, 118

F.R.D. at 407), namely that O’Brien’s unlawfully misclassified the Spill Workers as independent

contractors in violation of the FLSA in an effort to avoid paying them overtime. Any differences

among the Spill Workers ’ duties were clearly not “material” to O’Brien’s determination of

whether the job is properly classified as an independent contractor. Prater v. Commerce Equities

Mgmt. Co., Inc., CIV.A. H-07-2349, 2007 WL 4146714, at *6 (S.D. Tex. Nov. 19, 2007)

(finding variations in class members’ job duties not material).

        It would be “disingenuous” for O’Brien’s, “on the one hand, to collectively and generally

decide that all [the Spill Workers ] are [independent contractors] . . ., while on the other hand,

claiming that plaintiff cannot proceed collectively to challenge” the classification. Nerland v.

Caribou Coffee Co., Inc., 564 F. Supp. 2d 1010, 1024 (D. Minn. 2007) (certifying class of

managers challenging classification as exempt under the FLSA and Rule 23). After having

uniformly classified all the Spill Workers as independent contractors without performing

individualized inquiries, O’Brien’s cannot now claim that the Court must do so to determine

whether the Spill Workers are similarly situated with respect to their claims. In other words, if

O’Brien’s can make this determination on a collective basis, so can this Court.

        In any event, courts do not require that the job duties be identical. Kuperman, 2008 WL

4809167, at *6 (citing Lima, 493 F. Supp. 2d at 798) (“[T]he threshold for a notice-stage §

216(b) certification is not absolutely identical job tasks, but similarity of the plaintiff's overall

employment situations”) (emphasis in original)); Donohue, 2004 WL 1161366, at *2 (E.D. La.

2004) (“collective action certification is not precluded by the fact that putative plaintiffs

performed various jobs in differing departments and locations,” and “the law is plain that that



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[fact] does not undermine the ‘similarly situated’ requirement.”); see also Foraker v. Highpoint

Southwest, Servs., L.P., No. H-06-1856, 2006 WL 2585047, at *4 (S.D. Tex. Sept.7, 2006)

(“While undoubtedly the [plaintiff’s] duties vary to some degree from day-to-day and possibly

from location to location ... [t]he fact that on different days customers may have questions for a

[plaintiff employee] does not change the thrust of the job duties described....”). “Similarly

situated” does not mean identically situated. Basco v. Wal-Mart Stores, Inc., 2004 U.S. Dist.

LEXIS 12441, at *15 (E.D. La. July 2, 2004); Crain v. Helmerich & Payne Int'l Drilling Co.,

1992 U.S. Dist. LEXIS 5367, at *4-5 (E.D. La. April 17, 1992). Thus, “[s]light differences in

job duties or functions do not run afoul of the similarly situated requirement.” Tolentino v. C & J

Spec-Rent Servs., Inc., 716 F. Supp. 2d 642, 651-522 (S.D. Tex. 2010). Named Plaintiffs need

only show that their positions are similar, not identical, to potential class members. Villarreal v.

St. Luke's Episcopal Hosp., 10-CV-247, 2010 WL 4604453, at *12 (S.D. Tex. Nov. 3, 2010)

(internal quotations and citation omitted). In this case, Prejean has amply shown that the Spill

Workers were all assigned the duty to assist O’Brien’s in tracking oil spill response personnel or

equipment that were used in the Horizon Spill on or about April 20, 2010.

       3.      The Spill Workers Are Similarly Situated With Respect to O’Brien’s Exemption
               Defenses.

       In its answer, O’Brien’s claims the Spill Workers were exempt under the executive,

administrative and/or highly paid professional exemptions to the FLSA. Docket Entry No. 6663

at p. 6, Seventh, Eighth and Ninth Affirmative Defenses. These exemptions all require, inter

alia, that the employee be “paid on a salary basis.” 29 C.F.R §§ 541.100, 200, 601; Belt v.

Emcare, Inc., 444 F.3d 403, 407 (5th Cir. 2006). Failure to meet any aspect of the salary basis

requirements conclusively precludes application of these exemptions. Id. This is true even if the

employees otherwise perform exempt duties or earn high wages. Belt, 444 F.3d at 416 (non-

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salaried Physician Assistants and Nurse Practitioners are non-exempt as a matter of law even

though it is “beyond question that [they] assume many of the traditional duties of doctors.”);

Usery v. Associated Drugs, Inc., 538 F.2d 1191, 1193-94 (5th Cir. 1976) (pharmacists are non-

exempt as a matter of law when not paid on a salary basis.); Prakash v. Savi Technologies, Inc.,

C10-1845RSL, 2011 WL 2414349,*4 (W.D. Wash. June 10, 2011) (technical support worker

earning $120,000 per year not exempt because not paid on a salary basis).

       “Paid on a salary basis” means the employee regularly receives a predetermined weekly

amount of compensation each pay period that cannot be reduced because of variations in the

quality or quantity of the employee’s work. Belt, 444 F.3d at n. 9; 29 C.P.R. § 541.602(a).

Employees who are paid a day-rate without a guaranteed weekly minimum are not paid on a

salary basis. 29 C.F.R. § 541.604(b); Dufrene v. Browning-Ferris, Inc., 207 F.3d 264, 268 (5th

Cir. 2000) (distinguishing between a salary and a day-rate); Cunningham v. Faerber's Bee

Window, Inc., 1:04CV500-LJM-VSS, 2005 WL 1123634, at *3 (S.D. Ind. Apr. 19, 2005) (an

employee who is “paid per day of work … does not fit the definition of a salaried employee.”).

       The standard defense argument that the exemption analysis depends on individualized

inquiries into the employees’ job duties, does not apply here because the Spill Workers were not

paid on a salary basis. Instead, every Spill Worker was paid a flat amount per day worked.

Accordingly, the Spill Workers are similarly situated with respect to whether they are paid on a

salary basis.

       4.       The Spill Workers Demonstrate Others Are Interested in Participating in this
                Lawsuit.

       The Spill Workers demonstrate other similarly situated employees are interested in

participating in this lawsuit if they knew of the opportunity to do so. Since Prejean filed his

Complaint, twenty-six additional Spill Workers have filed their consent forms. Moreover, the

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Spill Workers support this memorandum with twenty declarations in which the Spill Workers

assert that based upon their personal communications with co-workers that other Spill Workers

similarly situated to Prejean, would join this case if they knew about it. Exs. 5-18, ¶ 32; Exs. 19,

24, ¶ 28; Ex. 20, ¶ 27; Exs. 21-23; ¶ 28. Cases routinely grant notice on substantially lesser

showings of interest. See, e.g., Castillo v. Hernandez, 2010 U.S. Dist. LEXIS 118457, #12-14

(W.D. Tex. Nov. 4, 2010) (authorizing notice on basis of 7 declarations asserting that other

similarly situated employees would be interested in joining and stating that court has done so on

basis of statements by just two employees); Cantu v. Vitol, Inc., 2009 U.S Dist. LEXIS 118325,

*15-16 (S.D. Tex. Dec. 21, 2009) citing Felix de Asencio v. Tyson Foods Co., 130 F. Supp. 2d

660, 663 (E.D. Pa. 2001) (pleadings and four declarations from putative class members

sufficient); Gonzalez v. Ridgewood Landscaping, Inc., 2010 U.S. Dist. LEXIS 45245, *16-17

(S.D. Tex. May 10, 2010) (evidence of interest sufficient where 3 of 300 potential employees

expressed in declarations that others would be interested in joining) and McKnight v. D.

Houston, Inc., 2010 U.S. Dist. LEXIS 122357, *31-32 (S.D. Tex. Nov. 18, 2010) (certifying

notices to classes on the assertion by only one employee that others similarly situated would be

interested in joining).

        D.      The Court Should Approve Plaintiff’s Proposed Notice

        Plaintiff requests that the Court authorize them to send the proposed notice and consent to

join form to all O’Brien’s Deepwater Horizon oil spill response workers who were classified as

independent contractors, paid a day-rate and worked over forty hours in at least one workweek

without receiving overtime pay, and performed duties related to tracking oil spill response

personnel, and/or otherwise assisted in managing and/or tracking the resources used in the




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response (“Potential Opt-In Plaintiffs”). Plaintiff’s proposed notice is “timely, accurate, and

informative.” Hoffmann-La Roche, 493 U.S. at 172.

                                       V. CONCLUSION

       For the foregoing reasons, Prejean respectfully requests this Court conditionally certify

this case as a collective action; order Defendant to produce a computer-readable data file

containing all Potential Opt-In Plaintiffs’ names, last-known mailing addresses, last-known email

addresses, last-known telephone numbers, Social Security numbers, work locations, and dates of

employment; and authorize the issuance of Prejean’s proposed notice with the attached consent-

to-join form to all Potential Opt-In Plaintiffs. Prejean request an opt-in period of sixty days.

Date: 7/18/2012                               Respectfully submitted,

                                              BRUCKNER BURCH PLLC


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